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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

                                                 Cause No.: CR-07-69-GF-BMM
UNITED STATES OF AMERICA,

                     Plaintiff,                           ORDER
      vs.

JAMIE ALAN CORDELL,

                     Defendant.


      Upon the Defendant’s Unopposed Motion and good cause appearing

therefrom;

      IT IS HEREBY OREDERED that the Clerk of Court will file the

Defendant’s Exhibit A to his Sentencing Memorandum, attached to the Motion for

Leave to File Under Seal, be filed under seal.


   DATED this 13th day of November, 2019.
